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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-15
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

ORDER SETTING (I) EMERGENCY HEARING ON APPLICATION FOR AN ORDER
GRANTING PROVISIONAL RELIEF PURSUANT TO SECTIONS 105(a) AND 1519 OF
  THE BANKRUPTCY CODE, (II) SETTING SCHEDULING CONFERENCE FOR
 RECOGNITION HEARING, AND SPECIFYING FORM AND MANNER OF NOTICE

        Upon the Request for Emergency Hearing on the Application for an Order Granting

Provisional Relief Pursuant to Sections 105(a) and 1519 of the Bankruptcy Code, Scheduling

Recognition Hearing, and Specifying Form and Manner of Notice (the “Motion”) seeking an

emergency hearing on March 10, 2014 on the Application for an Order Granting Provisional

Relief Pursuant to section 105(a) and 1519 of the Bankruptcy Code, Scheduling Recognition




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Hearing, and Specify         a Manner of Notice (thhe “Applicaation”)1 and upon the heearing
                   ying Form and

on the Motion
       M      and this
                  t    Court’s review and
                                        d consideratiion of the A
                                                                Application, the Petitionn, the

Gamlen Declaration,
       D            and the Karrpeles Declaaration, and tthe Memoranndum of Law
                                                                              w;

         IT
          T IS HEREBY FOUND
                          D AND DET      D THAT:2
                                  TERMINED

         A.
         A         This Court
                        C     has ju
                                   urisdiction over
                                               o    this maatter pursuannt to 28 U.S.C. §§ 1577 and

1334, and
        d 11 U.S.C. §§ 109 and 1501.

         B.
         B         The consideration
                       c           n of the Peetition and the relief rrequested thherein is a core

proceedin
        ng under 28 U.S.C. § 15
                              57(b)(2)(P).

         C.
         C         Venuee is proper before
                                    b      this Co
                                                 ourt pursuannt to 28 U.S..C. § 1410.

         D.
         D         In ligh
                         ht of the circcumstances, good, sufficcient, approppriate and tim
                                                                                         mely notice oof the

Motion has
       h been giveen by the Peetitioner.

         E.
         E         No objections orr other resp
                                              ponses weree filed thatt have not been overrruled,

withdraw
       wn, or otherw
                   wise resolved
                               d.

         F.        Absen
                       nt an emergeency hearing
                                              g on the Appplication, thee Debtor wouuld be irrepaarably

harmed.

     BASED
     B     ONN THE FO
                    OREGOING G FINDING
                                     GS OF FA
                                            ACT AND AFTER DUE
DELIBE
     ERATION AND SUF FFICIENT CAUSE APPEARINNG THER
                                                  REFOR, IT
                                                          T IS
HEREBYY ORDERE
             ED THAT:

         1.        The Motion
                       M      is graanted.

         2.        A heaaring on the Application
                                               n shall be heeld on Marrch ____, 20014 at __:____ m

(Centrall Time) beffore the Hon
                              norable ____
                                         ______________________, United States Bankruuptcy

1
         Any
         A capitalized
                     d terms used bu
                                   ut not defined herein shall hhave the meannings ascribed to such terms in the
Application.
2
         The findings an  nd conclusionss set forth hereein and in the record of the hearing on thhe Petition connstitute
this Court’’s findings of facts
                          f     and concllusions of law pursuant
                                                        p          to Ruule 52 of the Feederal Rules of Civil Proceduure, as
made appllicable herein by b Rules 7052 2 and 9014 of the Federal R    Rules of Bankruuptcy Proceduure (“the Bankkruptcy
Rules”). To the extent any of the find   dings of fact herein constitutte findings of ffact, they are aadopted here ass such.
To the exteent any of the conclusions
                          c           of law herein con nstitute findingg of fact, they aare adopted as ssuch.



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          DALDMS                                             2
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Judge for the Northeern District of Texas, Dallas
                                           D      Divission, 14th Flooor, 1100 C
                                                                               Commerce S
                                                                                        Street,

Dallas, Texas
        T     75242..

          3.       Counssel for the Petitioner will
                                               w serve coopies of thiis Order, annd Notice oof the

aforemen
       ntioned hearing via imm
                             mediate metho
                                         ods to: (i) thhe Office of the United S
                                                                               States Trusteee for

the North
        hern Districtt of Texas, Dallas
                                 D      Divisiion; and (ii) counsel to tthe US Litiggation Matterrs via

electronic mail and facsimile. The Petitioner will alsso contact ccounsel to thhe US Litiggation

Matters via
        v telephonee to inform them
                               t    of this hearing.

                                             D OF ORDER
                                     # # # END        R###


Prepared
       d and submittted by:

BAKER
    R & McKEN
            NZIE LLP

/s/ David
        d W. Parham m
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- and -

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Foreign Representati
         R             ive of MtGoxx Co., Ltd., a/k/a
                                                a     MtGoxx KK


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